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                           UNITED STATES BANKRUPTCY COURT
                               DISTRICT OF PUERTO RICO

   IN RE:
                                                               CASE NO. 11-06637 (MCF)
   JUAN CARLOS BALCELLS GALLARETA
                                                               CHAPTER 7
             Debtor

                                                               ADV. NO. 14-00137
   NOREEN WISCOVITCH RENTAS
   CHAPTER 7 TRUSTEE

          Plaintiff

             v.

   AMARILIS GONZÁLEZ GARCÍA

          Defendant


         MOTION REQUESTING SUBPOENAS FOR CROWLEY AND OTHERS
 TO THE HONORABLE COURT:

        COMES NOW defendant, Amarilis González García (“Defendant”), through the

 undersigned attorney, and respectfully STATES and PRAYS:

        1.        Defendant has reasonable belief that Debtor 1) may have illegally transferred

 personal assets, prior to the filing of the Chapter 7 petition, to Gusupa, Inc. (“Gusupa”), a

 corporation where he was the president and had total control; 2) understated his income and

 earnings when filing the Chapter 7 petition; 3) understated his assets and, therefore, the assets of

 the estate, when filing the Chapter 7 petition; 4) failed to include his participation in Gusupa;

 among other things that impede Defendant, one of Debtor’s largest creditors, to really assess the

 assets Debtor’s estate possess to pay creditors off.




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         2.     If new assets or income and/or earnings are discovered, Defendant as one of the

 largest creditors, will benefit from the opportunity to recover a larger portion of the $174,128.00

 debt in domestic support obligations, as included in Defendant’s proof of claim, an obligation

 which has significantly increased since the filing of the proof of claim almost 7 years ago.

         3.     Also, if new assets or income and/or earnings are discovered, the current adversary

 proceeding may be moot, since Trustee will have additional assets to pay creditors off.

         4.     In Debtor’s 341 meeting, Debtor admitted that he acted as owner of the Gusupa to

 receive commercial lending since his parents, who he claims are the ‘real’ owners, did not have

 the sufficient credit strength to receive the commercial loan. Debtor’s father admitted to the same

 in the 341 meeting in Bankruptcy case no. 11-07334. Debtor also admitted that he possessed no

 personal motor vehicle and that, instead, he was using a Gusupa’s company car even after he

 stopped working in Gusupa.

         5.     Defendant has also demonstrated previous strange dealings of Gusupa which may

 be related to Debtor’s presidency, including the sale of real estate property of Gusupa to a family

 member for significantly less than its market value; the rent of real estate property of Gusupa,

 where Gusupa assumed all costs but a third party received all the rents and benefits; and the

 commercial lending were Debtor and Defendant, before the divorce, appeared as sole owners of

 Gusupa, Debtor representing to the bank that Gusupa had a $1,000,000.00 value. These findings

 were included as part of Docket no. 34, in Carol Martínez Iserni’s forensic report dated June 4,

 2013.

         6.     Defendant needs to know the total amount of assets of the estate before the hearing

 on the merits of this adversary proceeding and said information can only be obtained with the




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 cooperation of third parties. This information is crucial to Defendant’s counterclaim, filed as

 Docket no. 12.

        7.      In order to determine the assets and other related property for proper adjudication

 of this case, Defendant hereby requests, pursuant to Bankruptcy Rule 9016 and Rule 45 of the

 Federal Rules of Civil Procedures, that this Honorable Court issues an Order to CROWLEY

 PUERTO RICO SERVICES, INC., CROWLEY CARIBBEAN LOGISTICS, LLC, TOTE

 MARITIME PUERTO RICO, LLC, SEA STAR LINE AGENCY, INC., MATSON/HORIZON

 LINES, LUIS A. AYALA COLON SUCRES, INC., AUTORIDAD DE PUERTOS DE PUERTO

 RICO, TRAILER BRIDGE, INC., FEDERAL MARITIME COMMISSION, their successors,

 affiliates, subsidiaries and any other related company (the “Companies”), to issue a certification

 informing and submitting copies of all documents related to the movement, transportation, import

 and export and of any type of cargo using maritime transportation and maritime commerce in

 which appear the following names: GUSUPA INC, with taxpayer identification number XX-

 XXX3843; JUAN CARLOS BALCELLS GALLARRETA, social security number XXX-XX-

 1825; JUAN BALCELLS GRAU social security number XXX-XX-1775; and LEONIE

 GALLARRETA OTHEGUY social security number XXX-XX-6593 ( “Individuals”); and any

 other successor, affiliate or subsidiary that participates in any form of maritime commerce or

 maritime transportation; it is requested that the Companies to provide copies of all documents from

 2005 to present.

        8.      This Honorable Court is requested to issue an Order requesting the Companies to

 submit certifications that evidence of the following:

             A. Copy of all documents related to import and export of any type of cargo being

                moved by maritime transportation in which the name Gusupa and the Individuals



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             appear in connection with the use of maritime transportation or maritime

             commerce;

          B. Copy of any statement, requests for credit or credit offerings, bonds, policies, of

             any type, that are owned in their individual character or jointly with any natural or

             judicial person; a detailed breakdown of payments is hereby requested along with

             copies of any related checks from the date of origin of the account up to present. In

             relation to each of the accounts, provide and certify the following:

                 a. For each one provide: (a) insurance policy and account numbers; (b) types

                     of insurance; (c) date of origination; (d) date of cancellation; (e) invoice

                     information; (f) related banking entities; (g) persons or entities authorized

                     to receive invoices; (h) persons or entities authorized to issue payments;

                 b. Monthly record of each account balances from opening to present;

                 c. Provide copies of all monthly statements of each of the accounts from

                     opening up to present;

                 d. Provide copy of all loan applications, credit applications, credit lines, notes

                     and any other from the opening of the account up to present. If the business

                     stopped buying a product during that period, indicate reasons why the

                     service was cancelled or changed;

                 e. Provide copy of any information or document or related document to the

                     entities and individuals above referenced;

          C. Copy of any document related to each shipment for import and export of any

             product in which Gusupa and any of the Individuals appear as a party or as a

             commercial reference, intermediary, or in any form.



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              D. It is hereby requested information and evidence of any document related to

                 Shipping Agents, Cargo Consolidators, bonds, guarantees, International Maritime

                 Shipping Companies and Audited Financial Statements.

        9.       The information and documents requested herein shall be issued to the undersigned

 to the following address P.O. Box 9022074, San Juan, Puerto Rico 00902-2074 and to

 cgarcia@garciariveralaw.com within a term of ten (10) days from the date of notification of the

 Order. Failure to comply with this Order may result in the Banks being found in contempt of this

 Honorable Court.

        10.      If requested by this Honorable Court, Defendant can file a motion under seal with

 the complete social security numbers of the people of interest and the taxpayer identification

 number of Gusupa.

        WHEREFORE, it is requested that this Honorable Court hereby grant Defendant Motion

 Requesting Subpoenas for the Companies and any other legal remedy that Defendant is entitled

 to.

        RESPECTFULLY SUBMITTED.

        San Juan, Puerto Rico, this 17th day of May, 2018.

        I HEREBY CERTIFY that on this same date I electronically filed the foregoing with the

 Clerk of the Court using the CM/ECF System which will send notification of such filing to the

 participants appearing in said record, including the Debtor and Chapter 7 Trustee; and that this

 motion was sent by first class mail to Crowley Caribbean Logistics, LLC, and Crowley Puerto

 Rico Services, Inc., at c/o Fast Solutions, LLC, Citi Tower 252, Ponce de Leon Avenue, Floor 20

 San Juan, P.R. 00918; Tote Maritime Puerto Rico, LLC, at Edificio Caso, Suite 1206, #1225 Ponce

 de Leon Ave., San Juan, P.R. 00907; Sea Star Line Agency, Inc., at Cancio, Nadal, Rivera & Diaz,


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 PSC, P.O. Box 364966, San Juan, P.R. 00936-4966; Matson/Horizon Lines at Triton Towers One,

 Suite 600, 555 South Renton Village Place, Renton, WA. 98057-3292; Luis A. Ayala Colon

 Sucres, Inc., at P.O. Box 7066, Ponce, P.R. 00732-7066; Autoridad de Puertos de Puerto Rico at

 P.O. Box 362829, San Juan, P.R. 00936-2829; Trailer Bridge, Inc., at CT Corporation System,

 P.O. Box 2946, San Juan, P.R. 00903; Federal Maritime Commission at 800 North Capitol St.,

 NW, Washington, DC 20573; the U.S. Attorney’s Office, District of Puerto Rico at Torre Chardón,

 Suite 1201, 350 Carlos Chardón St., San Juan, P.R. 00918; Jeff Sessions, Esq., U.S. Attorney

 General, U.S. Department of Justice, 950 Pennsylvania Ave., NW, Washington, DC 20530-0001;

 Wanda Vázquez, Esq., Secretary, P.R. Department of Justice, Apartado 9020192, San Juan, P.R.

 00902-0192; and to Juan Balcells Grau and Leonie Gallarreta Otheguy at P.O. Box 1012, San Juan,

 P.R. 00936.

                                                NOTICE

 Within fourteen (14) days after service as evidenced by the certification, and an additional three
 (3) days pursuant to Fed. R. Bank. P. 9006(f) if you were served by mail, any party against whom
 this paper has been served, or any other party to the action who objects to the relief sought herein,
 shall serve and file an objection or other appropriate response to this paper with the clerk’s office
 of the United States Bankruptcy Court for the District of Puerto Rico. If no objection or other
 response is filed within the time allowed herein, the paper will be deemed unopposed and may be
 granted unless: (i) the requested relief is forbidden by law; (ii) the requested relief is against public
 policy; or (iii) in the opinion of the court, the interest of justice requires otherwise.


                                                 s/ CARLOS G. GARCÍA MIRANDA
                                                 USDC-PR 302101
                                                 E-mail: cgarcia@garciariveralaw.com
                                                 García & Rivera LLC
                                                 Miramar Plaza
                                                 954 Ponce de León Ave., Suite 707-E
                                                 San Juan, P.R. 00907
                                                 Tel.: 787-236-4244




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                         UNITED STATES BANKRUPTCY COURT
                             DISTRICT OF PUERTO RICO

   IN RE:
                                                              CASE NO. 11-06637 (MCF)
   JUAN CARLOS BALCELLS GALLARETA
                                                              CHAPTER 7
          Debtor

                                                             ADV. NO. 14-00137
   NOREEN WISCOVITCH RENTAS
   CHAPTER 7 TRUSTEE

         Plaintiff

          v.

   AMARILIS GONZÁLEZ GARCÍA

         Defendant


                                             ORDER

 TO: CROWLEY PUERTO RICO SERVICES, INC., CROWLEY CARIBBEAN

 LOGISTICS, LLC, TOTE MARITIME PUERTO RICO, LLC, SEA STAR LINE

 AGENCY, INC., MATSON/HORIZON LINES, LUIS A. AYALA COLON SUCRES, INC.,

 AUTORIDAD DE PUERTOS DE PUERTO RICO, TRAILER BRIDGE, INC., FEDERAL

 MARITIME COMMISSION, their successors, affiliates, subsidiaries and any other related

 company (the “Companies”), pursuant to Bankruptcy Rule 9016 and Rule 45 of the Federal Rules

 of Civil Procedures, to issue a certification informing and submitting copies of all documents

 related to the movement, transportation, import and export and of any type of cargo using maritime

 transportation and maritime commerce in which appear the following names: GUSUPA INC, with

 taxpayer identification number XX-XXX3843 (“GUSUPA”); JUAN CARLOS BALCELLS

 GALLARRETA, social security number XXX-XX-1825; JUAN BALCELLS GRAU social


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 security number XXX-XX-1775; and LEONIE GALLARRETA OTHEGUY social security

 number XXX-XX-6593 (the “Individuals”); and any other successor, affiliate or subsidiary that

 participates in any form of maritime commerce or maritime transportation; it is ordered to provide

 copies of all documents from 2005 up to present.

    The Companies must submit certifications that evidence of the following:

            A. Copy of all documents related to import and export of any type of cargo being

                moved by maritime transportation in which the name GUSUPA and the Individuals

                appear in connection with the use of maritime transportation or maritime

                commerce;

            B. Copy of any statement, requests for credit or credit offerings, bonds, policies, of

                any type, that are owned in their individual character or jointly with any natural or

                judicial person; a detailed breakdown of payments is hereby requested along with

                copies of any related checks from the date of origin of the account up to present. In

                relation to each of the accounts, provide and certify the following:

                   a. For each one provide: (a) insurance policy and account numbers; (b) types

                       of insurance; (c) date of origination; (d) date of cancellation; (e) invoice

                       information; (f) related banking entities; (g) persons or entities authorized

                       to receive invoices; (h) persons or entities authorized to issue payments;

                   b. Monthly record of each account balances from opening to present;

                   c. Provide copies of all monthly statements of each of the accounts from

                       opening up to present;

                   d. Provide copy of all loan applications, credit applications, credit lines, notes

                       and any other from the opening of the account up to present. If the businesss

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                    stopped buying a product during that period, indicate reasons why the

                    service was cancelled or changed;

                e. Provide copy of any information or document or related document to the

                    entities and individuals above referenced;

          C. Copy of any document related to each shipment for import and export of any

             product in which GUSUPA and any of the Individuals appear as a party or as a

             commercial reference, intermediary, or in any form.

          D. It is hereby requested information and evidence of any document related to

             Shipping Agents, Cargo Consolidators, bonds, guarantees, International Maritime

             Shipping Companies and Audited Financial Statements.

          E. Defendant and Companies served with this Subpoena must comply with the

             requirements set forth in Rule 45 of the Federal Rules of Civil Procedures which

             state, among others that:

             (d) PROTECTING A PERSON SUBJECT TO A SUBPOENA; ENFORCEMENT.
                (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney
             responsible for issuing and serving a subpoena must take reasonable steps
             to avoid imposing undue burden or expense on a person subject to the
             subpoena. The court for the district where compliance is required must
             enforce this duty and impose an appropriate sanction—which may include
             lost earnings and reasonable attorney's fees—on a party or attorney who
             fails to comply.
               (2) Command to Produce Materials or Permit Inspection.
               (A) Appearance Not Required. A person commanded to produce
             documents, electronically stored information, or tangible things, or to
             permit the inspection of premises, need not appear in person at the place of
             production or inspection unless also commanded to appear for a deposition,
             hearing, or trial.
                (B) Objections. A person commanded to produce documents or tangible
             things or to permit inspection may serve on the party or attorney designated
             in the subpoena a written objection to inspecting, copying, testing or
             sampling any or all of the materials or to inspecting the premises—or to

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             producing electronically stored information in the form or forms requested.
             The objection must be served before the earlier of the time specified for
             compliance or 14 days after the subpoena is served. If an objection is made,
             the following rules apply:
               (i) At any time, on notice to the commanded person, the serving party
             may move the court for the district where compliance is required for an
             order compelling production or inspection.
                (ii) These acts may be required only as directed in the order, and the order
             must protect a person who is neither a party nor a party's officer from
             significant expense resulting from compliance.
               (3) Quashing or Modifying a Subpoena.
               (A) When Required. On timely motion, the court for the district where
             compliance is required must quash or modify a subpoena that:
               (i) fails to allow a reasonable time to comply;
                (ii) requires a person to comply beyond the geographical limits specified
             in Rule 45(c);
               (iii) requires disclosure of privileged or other protected matter, if no
             exception or waiver applies; or
               (iv) subjects a person to undue burden.
               (B) When Permitted. To protect a person subject to or affected by a
             subpoena, the court for the district where compliance is required may, on
             motion, quash or modify the subpoena if it requires:
                (i) disclosing a trade secret or other confidential research, development,
             or commercial information; or
               (ii) disclosing an unretained expert's opinion or information that does not
             describe specific occurrences in dispute and results from the expert's study
             that was not requested by a party.
               (C) Specifying Conditions as an Alternative. In the circumstances
             described in Rule 45(d)(3)(B), the court may, instead of quashing or
             modifying a subpoena, order appearance or production under specified
             conditions if the serving party:
               (i) shows a substantial need for the testimony or material that cannot be
             otherwise met without undue hardship; and
               (ii) ensures that the subpoenaed person will be reasonably compensated.
               (e) DUTIES IN RESPONDING TO A SUBPOENA.
                (1) Producing Documents or Electronically Stored Information. These
             procedures apply to producing documents or electronically stored
             information:

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               (A) Documents. A person responding to a subpoena to produce
             documents must produce them as they are kept in the ordinary course of
             business or must organize and label them to correspond to the categories in
             the demand.
                (B) Form for Producing Electronically Stored Information Not
             Specified. If a subpoena does not specify a form for producing electronically
             stored information, the person responding must produce it in a form or
             forms in which it is ordinarily maintained or in a reasonably usable form or
             forms.
                (C) Electronically Stored Information Produced in Only One Form. The
             person responding need not produce the same electronically stored
             information in more than one form.
                (D) Inaccessible Electronically Stored Information. The person
             responding need not provide discovery of electronically stored information
             from sources that the person identifies as not reasonably accessible because
             of undue burden or cost. On motion to compel discovery or for a protective
             order, the person responding must show that the information is not
             reasonably accessible because of undue burden or cost. If that showing is
             made, the court may nonetheless order discovery from such sources if the
             requesting party shows good cause, considering the limitations of Rule
             26(b)(2)(C). The court may specify conditions for the discovery.
               (2) Claiming Privilege or Protection.
                (A) Information Withheld. A person withholding subpoenaed
             information under a claim that it is privileged or subject to protection as
             trial-preparation material must:
               (i) expressly make the claim; and
                (ii) describe the nature of the withheld documents, communications, or
             tangible things in a manner that, without revealing information itself
             privileged or protected, will enable the parties to assess the claim.
                (B) Information Produced. If information produced in response to a
             subpoena is subject to a claim of privilege or of protection as trial-
             preparation material, the person making the claim may notify any party that
             received the information of the claim and the basis for it. After being
             notified, a party must promptly return, sequester, or destroy the specified
             information and any copies it has; must not use or disclose the information
             until the claim is resolved; must take reasonable steps to retrieve the
             information if the party disclosed it before being notified; and may promptly
             present the information under seal to the court for the district where
             compliance is required for a determination of the claim. The person who
             produced the information must preserve the information until the claim is
             resolved.


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        The subpoena requested that a complete certify copy shall be issued to the undersigned to

 the following address P.O. Box 9022074, San Juan, Puerto Rico 00902-2074 and to

 cgarcia@garciariveralaw.com within a term of ten (10) days from the date of notification of the

 Order. The Order may be notified by facsimile. Noncompliance with this Order may result in

 finding the Companies in contempt of this Honorable Court. Be Registered and Notified

    In San Juan, Puerto Rico, May __, 2018.

 _______________________________
 MILDRED CABÁN FLORES
 JUDGE




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